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                 Attorneys for Defendants AOL INC.,
          12     OATH INC. and VERIZON MEDIA INC.
          13                           UNITED STATES DISTRICT COURT
          14                          CENTRAL DISTRICT OF CALIFORNIA
          15                                       WESTERN DIVISION
          16     EVOX PRODUCTIONS LLC, a                        CASE NO. 2:20-cv-02907-JWH(JEMx)
                 Delaware limited liability company,
          17                                                    NOTICE OF LODGING OF
                                   Plaintiff,                   [PROPOSED] JUDGMENT
          18
                       v.
          19                                                    Judge:       John W. Holcomb
                 AOL INC., a Delaware corporation;
          20     OATH INC., a Delaware corporation;
                 and VERIZON MEDIA INC., a
          21     Delaware corporation; and DOES 1-10,
          22                       Defendants.
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Gibson, Dunn &
Crutcher LLP
                                                      NOTICE OF LODGING
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            1         Pursuant to Central District Local Rule 5-5.4.1, Defendants AOL, Inc., Oath Inc.,
            2    and Verizon Media Inc. (collectively, “Defendants”) hereby lodge the attached
            3    [Proposed] Judgment.
            4
            5
            6    Dated: June 24, 2021
            7                                         GIBSON, DUNN & CRUTCHER LLP
            8
                                                      By: /s/ Scott A. Edelman
            9                                                       Scott A. Edelman
          10                                          Attorneys for Defendants AOL INC., OATH
                                                      INC. and VERIZON MEDIA INC.
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Crutcher LLP
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                                            CASE NO. 2:20-CV-02907-JWH(JEMX)
